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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

In re: VIOXX® : MDL Docket No. 1657
PRODUCTS LIABILITY LITIGATION : SECTION L
This document relates to: Peggy L. Weich and Thomas : JUDGE FALLON

Welch v. Merck & Co., Inc. (B.D. La. 06-2720) :
: MAG. JUDGE KNOWLES

ANSWER AND JURY DEMAND OF DEFENDANT MERCK & CO.,, INC,

RESPONSE TO “JURISDICTION”

1. Merck denies knowledge or information sufficient to form a belief as to the truth
or falsity of the allegations contained in paragraph 1 of the Complaint.

2. Merck denies each and every allegation contained in paragraph 2 of the
Complaint but admits that it is a New Jersey corporation with its principal place of business in

New Jersey.

RESPONSE TO “FACTUAL BACKGROUND”?
3. Merck denies each and every allegation contained in paragraph 3 of the

Complaint.

4, Merck denies each and every allegation contained in paragraph 4 of the
Complaint and respectfully refers the Court to the relevant FDA-approved prescribing
information for Vioxx for its indicated uses and full text.

5. Merck denies each and every allegation contained in paragraph 45 of the
Complaint except admits that Merck manufactured, marketed and distributed the prescription

medicine Vioxx.
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6. Merck denies each and every allegation contained im paragraph 6 of the
Complaint.

7. Merck denies cach and every allegation contained in paragraph 7 of the
Complaint except admits that Merck sought, and in May 1999 received FDA approval to
manufacture and market the prescription medicine Vioxx, and did manufacture and market
Vioxx in a manner cousistent with the relevant FDA-approved prescribing information until
Merck voluntarily withdrew Vioxx from the worldwide market on September 30, 2004.

8. Merck denies each and every allegation contained in paragraph 8 of the
Complaint.

9. Merck denies each and every allegation contamed in paragraph 9 of the
Complaint.

10. Merck denies each and every allegation set forth in paragraph 10 of the Complaint
and respectiully refers the Court to the relevant FDA-approved prescribing information for
Vioxx for its indicated uses and full text.

11. Merck denies each and every allegation contained in paragraph 11 of the
Complaint. .
12. Merck denies knowledge or information sufficient to form a belief as to the truth
or falsity of the allegations contained in paragraph 12 ofthe Complaint.
~ 13. Merck denies each and every allegation contained in paragraph 13 of the
Complaint.
14. Merck denies knowledge or information sufficient to form a belief as to the truth

or falsity of the allegations contained in paragraph 14 of the Complaint.
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15. Merck denies knowledge or information sufficient to form a belief as to the truth
or falsity of the allegations contained in paragraph 15 of the Complaint.

RESPONSE TO “FIRST CLAIM FOR RELIEF
(STRICT PRODUCTS LIABILITY)”

16. With respect to the allegations contained in paragraph 16 of the Complaint, Merck
repeats and realleges each and every admission, denial, averment, and statement contained im the
preceding paragraphs oF this Answer with the same force and effect as though set forth here in
full.

17. Merck denies cach and every allegation contained in paragraph 17 of the
Complaint except admits that Merck manufactured, marketed and distributed the prescription
medicine Vioxx.

18. Merck denies knowledge or information sufficient to form a belief as to the truth
or falsity of the allegations contained in paragraph 18 of the Complaint.

19. Merck denies each and every allegation contained in paragraph 19 ofthe ©
Complaint.

20. Merck denies imowledge or information sufficient to form a belief as to the truth
or falsity of the allegations contained in paragraph 20 of the Complaint.

21. Merck denies each and every allegation contained in paragraph 21 of the
Complaint.

22. Merck denies each and every allegation contained in paragraph 22 of the
Complaint.

23, Merck denies knowledge or information sufficient to form a belief as to the truth

or falsity of the allegations contained in paragraph 23 of the Complaint.
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24. Merck denies each and every allegation contained in paragraph 24 of the
Complaint.

25. Mercic denies each and every allegation contained in paragraph 25 of the
Complaint.

26, Merck denies each and every allegation contained in paragraph 26 of the
Complaint.

27. Merci denies each and every allegation contained in paragraph 27 of the

Complaint.

RESPONSE TO “SECOND CLAIM FOR RELIEF
(NEGLIGENCE)”

28. With respect to the allegations contained in paragraph 28 of the Complaint, Merci
repeats and realleges each and every admission, denial, averment, and statement contained in the
paragraphs 1 through 27 of this Answer with the same force and effect as though set forth here in
full. Merck denies each and every other allegation contained in paragraph 28 of the Complaint
including subparagraphs a - g.

29. Merck denies each and every allegation contained in paragraph 29 of the
Complaint.

30. Merck denies each and every allegation contained in paragraph 30 of the
Comaiplaint.

RESPONSE TO “THIRD CLAIM FOR RELIEF
(BREACH OF EXPRESS WARRANTY)”

31. With respect to the allegations contained in paragraph 31 of the Complaint, Merck
repeats and realleges each and every admission, denial, averment, and statement contained in the
paragraphs 1 through 30 of this Answer with the same force and effect as though set forth here in

full.
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32. Merck denies each and every allegation contained in paragraph 32 of the
Complaint.

33. Merck denies each and every allegation contained in paragraph 33 of the
Complaint.

34. Merck denies each and every allepation contained in paragraph 34 of the
Complaint.

35. Merck denies each and every allegation contained in Paragraph 35 of the
Complaint.

36. Merck denies each and every allegation contained in paragraph 36 of the
Complaint.

RESPONSE TO “FOURTH CLAIM FOR RELIEF
(BREACH OF IMPLIED WARRANTY)”

37. With respect to the allegations contained in paragraph 37 of the Complaint, Merck
repeats and realleges each and every admission, denial, averment, and statement contained in the
patagraphs 1 through 36 of this Answer with the same force and effect as though set forth here in
full.

38. Merck denies Inowledge or information sufficient to form a belief as to the truth
or falsity of the allegations contained in paragraph 38 of the Complaint except admits that Merck
manufactured, marketed and distributed the prescription medicine Vioxx.

39. The allegations contained in paragraph 39 of the Complaint are legal conclusions
as to which no responsive pleading is required. Should a response be deemed required, Merck
denies each and every allegation contained in said paragraph.

40. Merck denies each and every allegation contained in paragraph 40 of the

Complaint.
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Al. Merck denies each and every allegation contained in paragraph 41 of the
Complaint.

42. Merck denies each and every allegation contained in paragraph 42 of the
. Complaint.

43. Merck denies each and every allegation contained in paragraph 43 of the
Complaint.

44. Merck denies each and every allegation contained in paragraph 44 of the
Complaint.

RESPONSE TO “FIFTH CLAIM FOR RELIEF
(FRAUDULENT MISREPRESENTATION)”

45. With respect to the allegations contained in paragraph 45 of the Complaint, Merck
repeats and realleges cach and every admission, denial, averment, and statement contained in the

paragraphs 1 through 44 of this Answer with the same force and effect as though set forth here in

full.

46. Merck denies each and every allegation contained in paragraph 46 of the
Complaint.

47. Merck denies each and every allegation contained in paragraph 47 of the
Complaint.

48. Merck Denies each and every allegation contained in paragraph 48 of the
Complaint and respectfully refers the Court to the relevant FDA-approved prescribing
information for Vioxx for its indicated uses and fill text.

49. Merci denies each and every allegation contained in paragraph 49 of the

Complaint.
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30.

Merck denies each and every allegation contained in paragraph 50 of the

Complaint except admits that Merck sought, and in May 1999 received FDA approval to

manufacture and market the prescription medicine Vioxx.

51.
Complaint.

52.
Complaint.

53.

Complaint. .

54.

Merck denies each and every allegation contained in paragraph 51 of the
Merck denies each and every allegation contained in paragraph 52 of the
Merck denies each and every allegation contained in paragraph 53 of the

RESPONSE TO “SIXTH CLAIM FOR RELIEF
(LOSS OF CONSORTIUND”

With respect fo the allegations contained in paragraph 54 of the Complaint, Merck

repeats and realleges each and every admission, denial, averment, and statement contained im the

paragraphs 1 through 53 of this Answer with the same force and effect as though set forth here in

fall.
55.
Complaint.
56.
Complaint.
57.

Complaint.

Merck denies each and every allegation contained in paragraph 55 of the |
Merck denies each and every allegation contained in paragraph 56 of the

Merck denies each and every allegation contained in paragraph 57 of the

PRAYER FOR RELIEF

As for the “Wherefore” section following paragraph 57 of the Complaint, no responsive

pleading is required. Should a response be deemed required, Merck denies each and every
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allegation contained in this “Wherefore” section except admits that Plaintiff purports to claim

certain damages but denies there is any legal or factual basis for same.

JURY DEMAND
AFFIRMATIVE DEFENSES

58. Each and every claim asserted or raised in the Complaint is barred by the
applicable statute of limitations and is otherwise untimely.

59. The Complaint fails to state a claim upon which relief can be sranted.

60. Hach and every claim asserted or raised in the Complaint is barred by the
doctrines of estoppel, waiver or statutory and regulatory compliance.

61. LfPlamtiffs have sustained injuries or losses as alleged in the Complaint, such
injuries or losses were caused in whole or in part through the operation of nature or other
intervening cause or causes.

62. To the extent that Plaintiffs assert claims based on Merck’s adherence to and.
compliance with applicable federal laws, regulations and rules, such claims are preempted by
federal Jaw under the Supremacy Clause of the United States Constitution.

63. To the extent that Plaintiffs assert claims based upon an alleged failure by Merck
to warn Plaintiff directly of alleged dangers associated with the use of Vioxx, such claims are
barred under the learned intermediary doctrine because Merck has discharged its duty to warn in
its warnings to the prescribing physician.

64. If Plaintiffs have sustained injuries or losses as alleged in the Complaint, such
injuries or losses were caused in whole or in part by the contributory negligence of the allegediy
injured Plaintiff

65. Any lability that might otherwise be imposed upon this Defendant is subject to

reduction by the application of the doctrine of comparative negligence.

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66. If Plaintiffs have sustained injuries or losses as alleged in the Complaint, such
injuries or losses were only so sustained after Plaintiffs knowingly, voluntarily, and willfully
assumed the risk of any injury as the result of the consumption of, adminisiration of, or exposure
to any drug or pharmaceutical preparation manufactured or distributed by Merck or other
manufacturer.

67.  IfPlamntiffs have sustained injuries or losses as alleged in the Complaint, upon
information and belis£ such injuries and losses were caused by the actions of persons not having
real or apparent authority to take said actions on behalf of Merck and over whom Merck had no
control and for whom Merck may not be held accountable. .

68. If Plaintiffs have sustained injuries or losses as alleged in the Complaint, upon
information and belief, such injuries and lossés were proximately caused by Plaintiffs’ misuse or
abuse of Vioxx.

69. IfPlamtiffs have sustained injuries or losses as alleged in the Complaint, such
Injuries or losses resulted from Plaintiffs’ pre-existing and unrelated medical, genetic and
environmental conditions, diseases, or illnesses, subsequent medical conditions or natural
courses of conditions for which this Defendant is not responsible.

70.‘ To the extent Plaintiffs rely upon any theory of breach of warranty, such claims
are also barred for Jack of timely notice of breach and lack of privity and because the alleged
watranties were disclaimed.

71. Plaintiffs’ claim are barred in whole or in part under the applicable state law
because Vioxx was subject to and received pre-market approval by the Food and Drug
Administration under 52 Stat. 1040, 21 U.S.C. § 301.

72. Plaintiffs’ claims are barred in whole or in part by the First Amendment.
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73. Plaintiffs’ claims are barred in whole or in part because the product at issue was
made in accordance with the state of the art at the time it was mamufactured.

74, Plaintiffs’ claims are barred in whole or in part under comment k to Section 402A
of the Restatement (Second) of Torts.

75. Plaintiffs’ claims are barred in whole or in part because Merck provided legally
adequate “directions or warnings’ as to the use of Vioxx and any other drug or pharmaceutical
preparation Plaintiff alleges to have taken within the meaning of comment] to Section 402A of
the Restatement (Second) of Torts.

76. Plaintiffs’ claims are barred under Section 4, et seq., of the Restatement (Third) of
Torts: Products Liability.

77. To the extent Plaintiffs settled or will in the future setile'with any person or entity
with respect to the injuries asserted in the Complaint, Merck’s liability, if any, should be reduced.
accordingly.

78. To the extent Plaintiffs are seeking recovery for benefits entitled to be received or
actually received from any other source for injures alleged in the Complaint, such benefits are
not recoverable in this action.

79. Plaintiffs” claims are barred in whole or in part because Plaintiffs have failed to
mitigate the alleged damages.

80. Plaintiffs’ claims of frand are barred by reason of Plaintitts’ failure to allege the
circumstances constituting fraud with particularity, as required by Federal Rule of Civil

Procedure 9(b).

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81. Plaintiffs’ claims are barred im whole or in part because Vioxx “provides net
benefits for a class of patients” within the meaning of comment f to Section 6 of the Restatement
(Third) of Torts: Product Liability.

82. To the extent Plaintiffs seek punitive damages for an alleged act or omission of
Merck, no act or omission was malicious, wilful, wanton, reckless, or grossly negligent and,
therefore, any award-of punitive damages is barred.

83. ° Plaintiffs’ demands for punitive damages are barred because Vioxx and its
labeling was subject to and received pre-market approval by the FDA under 52 Stat. 1040, 21
U.S.C. § 301.

84. To the extent Plaintiffs seek punitive damages for the conduct which allegedly
caused injuries asserted in the Complaint, such an award would also, if granted, violate Merck’s
‘state and federal constitutional rights.

Inasmuch as the Complamt does not describe the alleged underlying claims with
sufficient particularity to enable Merck to determine all ofits legal, contractual and equitable
rights, Merck reserves the right to amend and supplement the averments of its answer to assert
any and all pertment liability defenses ascertained through further investigation and discovery of
this action.

Merck will rely on all defenses that may become available during discovery or trial.

WHEREFORE, Merck respectfully demands judgment dismissing Plaintiff's Complaint
with prejudice and awarding Merck its reasonable costs and disbursements, together with such:

and other and further relief that the Court may deem just and proper.

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JURY DEMAND

Merck demands a trial by jury as to ail issues so triable.

Dated: July, 2006

Respectfully submitted,

"sf Joshua G. Schiller

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Counsel for Merck & Co., Inc.
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CERTIFICATE OF SERVICE

Thereby certify that the above and foregoing Answer and Jury Demand of

Defendant Merck & Co., Inc. has been served on Liaison Counsel, Russ Herman and Phillip

Wittmann, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties by

electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pre-

Trial Order No. 8B, and that the foregoing was electronically filed with the Clerk of Court of the

United States District Court for the Eastern District of Louisiana by using the CM/ECF system

which will send a Notice of Electronic Filing in accord with the procedures established in MDL

1657, on this 17th day of July, 2006.

/s/ Dorothy H. Wimberly
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